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                                    GOVERNOR             GREG        ABBOTT


May 11,2020

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                                                          SECRETARY OF STATE
                                                                      01C LOCK


                       R. Hughs
raeuth
State Capitol Room 1E.8                                      Secretary o State
Austin, Texas 78701

Dear Secretary Hughs:

Pursuant to his powers as Governor of the State of Texas, Greg Abbott has issued the following:

    A proclamation concerning early voting for special elections to occur on July 14, 2020.

The original of this proclamation is attached to this letter of transmittal.

Respectfully submitted,



                       $
           Clerk to the Governor

GSD/gsd

Attachment




             Posi OFFICE Box 12428 AUSTIN, TEXAS 78711 512-463-2000 (VoICE) DIAL 7-1-1 FOR RELAY SERVICES




                                                                                                            EXHIBIT
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                    PROCLAMATION
                                         BY THE

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TO ALL TO WHOM THESE PRESENTS SHALL COME:

   WHEREAS, I, Greg Abbott, Governor of Texas, issued a disaster proclamation
   on March 13, 2020, certifying under Section 4 18.014 of the Texas Government
   Code that the novel coronavirus (COVID19) poses an imminent threat of
   disaster for all counties in the State of Texas; and

   WHEREAS, on April 12, 2020, I issued a proclamation renewing the disaster
   declaration for all counties in Texas; and

   WHEREAS, the Commissioner of the Texas Department of State Health Services
   (DSHS), Dr. John Hellerstedt, has determined that COVID-19 represents a
   public health disaster within the meaning of Chapter 81 of the Texas Health and
   Safety Code, and renewed that determination on April 17, 2020; and

   WHEREAS, I have issued executive orders, proclamations, and suspensions of
   Texas laws in response to the COVID-19 disaster, aimed at protecting the health
   and safety of Texans and ensuring an effective response to this disaster; and

   WHEREAS, I issued a proclamation on March 16, 2020, ordering a special
   election on July 14, 2020, to fill the vacancy in Texas State Senate District No.
    14; and

   WHEREAS, on March 20, 2020, I issued a proclamation postponing the runoff
   primary election date from May 26, 2020, to July 14, 2020; and

   WHEREAS, I also issued a proclamation suspending Sections 4 1.0052(a) and (b)
   of the Texas Election Code and Section 49.103 of the Texas Water Code to the
   extent necessary to allow political subdivisions that would otherwise hold
   elections on May 2, 2020, to move their general and special elections for 2020
   only to the next uniform election date, occurring on November 3, 2020; and

   WHEREAS, I subsequently issued proclamations on April 2, April 6, April 8, and
   May 8, 2020, authorizing certain political subdivisions to call emergency special
   elections on July 14, 2020; and

   WHEREAS, Texas law provides that eligible voters have a right to cast a vote in
   person; and

   WHEREAS, as counties across Texas prepare for the upcoming elections on July
    14, 2020, and establish procedures for eligible voters to exercise their right to
   vote in person, it is necessary that election officials implement health protocols
   to conduct elections safely and to protect election workers and voters; and

   WHEREAS, in order to ensure that elections proceed efficiently and safely when
   Texans go to the poiis to cast a vote in person during early voting or on election
   day, it is necessary to increase the number of days in which polling locations will
   be open during the early voting period, such that election officials can implement
   appropriate social distancing and safe hygiene practices; and


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Governor Greg Abbott                                                        Proclamation
May 11, 2020                                                                      Page 2




   WHEREAS, Section 85.00 1(a) of the Texas Election Code provides that the
   period for early voting by personal appearance begins 17 days before election
   day; and

   WHEREAS, Section 85.001(b) of the Texas Election Code provides that the
   period for early voting for a runoff primary election begins 10 days before
   election day; and

   WHEREAS, in consultation with the Texas Secretary of State, it has become
   apparent that strict compliance with the statutory requirements relating to the
   duration of early voting contained in Sections 85.001(a) and 85.001(b) of the
   Texas Election Code would prevent, hinder, or delay necessary action in coping
   with the COVID-19 disaster; and

   WHEREAS, pursuant to Section 418.0 16 of the Texas Government Code, the
   Governor has the express authority to suspend the provisions of any regulatory
   statute prescribing the procedures for conduct of state business or the orders or
   rules of a state agency if strict compliance with the provisions, orders, or rules
   would in any way prevent, hinder, or delay necessary action in coping with a
   disaster.

   NOW, THEREFORE, I, GREG ABBOTT, Governor of Texas, under the authority
   vested in me by the Constitution and laws of the State of Texas, do hereby suspend
   Sections 85.001(a) and 85.001(b) of the Texas Election Code to the extent
   necessary to require that, for any election ordered or authorized to occur on July
   14, 2020, early voting by personal appearance shall begin on Monday, June 29,
   2020, and shall continue through the fourth day before election day, excluding any
   legal state or federal holidays. I further amend the proclamations issued on April
   2, April 6, April 8, and May 8, 2020, authorizing emergency special elections, and
   the proclamation issued on March 16, 2020, ordering a special election to fill the
   vacancy in Texas State Senate District No. 14, so as to require that for each of these
   elections to be held on July 14, 2020, early voting by personal appearance shall
   begin on Monday, June 29, 2020, in accordance with the above suspension.

   The Secretary of State shall take notice of this proclamation and shall transmit a
   copy of this order immediately to every County Judge of this state and all
   appropriate writs will be issued and all proper proceedings will be followed to the
   end that said elections may be held and their results proclaimed in accordance with
   law


                                             IN TESTIMONY WHEREOF, I
                                             have hereto signed my name and
                                             have officially caused the Seal of
                                             State to be affixed at my office in
                                             the City of Austin, Texas, this the
                                             11th day of May, 2020.



                                            /€
                                             GREG ABBOTT
                                                                  ,-
                                             Governor of Texas

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Governor Greg Abbott                                        Proclamation
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   ATTESTED BY:




   RUTH R. HUGHS
   Secretary of State




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                                                              SECRETARY OF STATE
                                                               5      efr O’CLOCK

                                                                 MAY 11 2020
